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 1   [Stipulating parties listed on signature page]

 2

 3                                  UNITED STATES DISTRICT COURT

 4                               NORTHERN DISTRICT OF CALIFORNIA

 5                                       SAN FRANCISCO DIVISION

 6   In re: CATHODE RAY TUBE (CRT)                       )   Case No. 07-5944 JST
     ANTITRUST LITIGATION                                )
 7                                                       )   MDL No. 1917
                                                         )
 8   This Document Relates to:                               STIPULATION AND [PROPOSED]
                                                         )
     Interbond Corp. of Am. v. Hitachi, Ltd. et al.,         ORDER OF DISMISSAL
                                                         )
 9   No. 3:11-cv-06275                                   )
10   Interbond Corp. of America v. Technicolor SA,       )
     et al., No. 3:13-cv-05727                           )
11                                                       )
     Office Depot, Inc. v. Hitachi, Ltd. et al, No.      )
12   3:11-cv-06276                                       )
     Office Depot, Inc. v. Technicolor SA, et al., No.   )
13
     3:13-cv-05726                                       )
14                                                       )

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17            Plaintiffs Interbond Corporation of America (“BrandsMart”) and Office Depot, Inc. (“Office
18   Depot”) (collectively, “Stipulating Plaintiffs”), and the undersigned Defendants, by their respective
19   attorneys and pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, state as follows:
20            1.      On October 3, 2013, BrandsMart filed its First Amended Complaint in No. 3:11-cv-
21   06275 (MDL Dkt. No. 1974), asserting claims for relief against the undersigned Defendants except
22   Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays Americas
23   LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc., and
24   Mitsubishi Electric US, Inc. under the Sherman Act and the Florida Deceptive and Unfair Trade
25   Practices Act.
26            2.      On December 20, 2013, BrandsMart filed its First Amended Complaint in No. 3:13-
27   cv-05727, asserting claims for relief against Technicolor SA, Technicolor USA, Inc., Videocon
28   Industries, Ltd., Technologies Displays Americas LLC, Mitsubishi Electric Corporation, Mitsubishi

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 1   Electric Visual Solutions America, Inc., and Mitsubishi Electric US, Inc. (MDL Dkt. No. 2279-6)

 2   under the Sherman Act and the Florida Deceptive and Unfair Trade Practices Act.

 3            3.    On October 3, 2013, Office Depot filed its First Amended Complaint in No. 3:11-cv-

 4   06276 (MDL Dkt. No. 1977), asserting claims for relief against the undersigned Defendants except

 5   Technicolor SA, Technicolor USA, Inc., Videocon Industries, Ltd., Technologies Displays Americas

 6   LLC, Mitsubishi Electric Corporation, Mitsubishi Electric Visual Solutions America, Inc., and

 7   Mitsubishi Electric US, Inc. under the Sherman Act and the Florida Deceptive and Unfair Trade

 8   Practices Act. The claims asserted in this complaint by Office Depot under the California

 9   Cartwright Act and California Unfair Competition Laws were voluntarily withdrawn on December
10   19, 2014 (MDL Dkt. No. 3226).

11            4.    On December 20, 2013, Office Depot filed its First Amended Complaint in No. 3:13-

12   cv-05726, asserting claims for relief against Technicolor SA, Technicolor USA, Inc., Videocon

13   Industries, Ltd., Technologies Displays Americas LLC, Mitsubishi Electric Corporation, Mitsubishi

14   Electric Visual Solutions America, Inc., and Mitsubishi Electric US, Inc. (MDL Dkt. No. 2279-8)

15   asserting claims for relief under the Sherman Act and the Florida Deceptive and Unfair Trade

16   Practices Act. The claims asserted in this complaint by Office Depot under the California

17   Cartwright Act and California Unfair Competition Laws were voluntarily withdrawn on December

18   19, 2014 (MDL Dkt. No. 3226).

19            5.    Stipulating Plaintiffs now desire to dismiss with prejudice their claims against
20   Defendants under the Florida Deceptive and Unfair Trade Practices Act. Stipulating Plaintiffs have

21   already dismissed with prejudice their claims against Defendants under all other state laws outlined

22   in paragraphs 1-4 above. Stipulating Plaintiffs are not dismissing, and will continue to prosecute, all

23   claims against Defendants brought pursuant to federal law, including the Sherman Act and the

24   Clayton Act.

25            6.    Stipulating Plaintiffs and Defendants agree that each party shall bear its own costs

26   and attorneys’ fees in connection with the dismissed claims.
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 1            7.    As a result of the dismissals of the Florida Deceptive and Unfair Trade Practices Act

 2   claims with prejudice, and contingent upon the Court’s approval of this Stipulation, Defendants will

 3   withdraw certain pending summary judgment motions, in whole or in part, as follows:

 4                  a.      Defendants’ Notice of Motion and Motion for Partial Summary Judgment as

 5                  to Indirect Purchaser Plaintiffs’ and Certain Direct Action Plaintiffs’ State Law

 6                  Claims on Statute of Limitations Grounds (MDL Dkt. No. 2978) is withdrawn in its

 7                  entirety, as BrandsMart and Office Depot’s Florida state law claims were the last live

 8                  claims subject to the motion.

 9                  b.      Defendants’ Joint Notice of Motion and Motion for Partial Summary
10                  Judgment Against Certain Direct Action Plaintiffs on State Law Claims Limited to

11                  Intrastate Activity (MDL Dkt. No. 3031) is withdrawn in its entirety, as BrandsMart

12                  and Office Depot’s Florida state law claims were the last live claims subject to the

13                  motion.

14                  c.      Defendant Technologies Displays Americas LLC’s Motion for Summary

15                  Judgment (MDL Dkt. No. 2984) is withdrawn as to Stipulating Plaintiffs’ claims

16                  under the Florida Deceptive and Unfair Trade Practices Act, but continues to apply to

17                  all other claims and Plaintiffs addressed in the motion not dismissed by previous

18                  stipulation.

19                  d.      Defendants’ Notice of Motion and Motion for Partial Summary Judgment on
20                  Plaintiffs’ Indirect Purchaser Claims Based on Foreign Sales (MDL Dkt. No. 3006) is

21                  withdrawn as to Stipulating Plaintiffs’ claims under the Florida Deceptive and Unfair

22                  Trade Practices Act, but continues to apply to all other claims and Plaintiffs addressed

23                  in the motion not dismissed by previous stipulation.

24                  e.      Defendants’ Joint Notice of Motion and Motion for Summary Judgment

25                  Based Upon Plaintiffs’ Failure to Distinguish Between Actionable and Non-

26                  Actionable Damages Under the FTAIA (MDL Dkt. No. 3008) is withdrawn as to
27                  Stipulating Plaintiffs’ claims under the Florida Deceptive and Unfair Trade Practices
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 1                   Act, but continues to apply to all other claims and Plaintiffs addressed in the motion

 2                   not dismissed by previous stipulation.

 3                   f.      Any other motion that seeks to dismiss any of the Stipulating Plaintiffs’

 4                   Florida Deceptive and Unfair Trade Practices Act claims referenced in Paragraph 1-4

 5                   is withdrawn as to those claims, but continues to apply to all other claims and

 6                   Plaintiffs addressed in the motion not dismissed by previous stipulation.

 7            8.     As set out in subparagraphs (a) and (b) of the preceding paragraph, this stipulation

 8   will moot two of the summary judgment motions (MDL Dkt. Nos. 2978 and 3031) currently

 9   scheduled for oral argument on March 7, 2016. See MDL Dkt. No. 4253. Accordingly, the parties
10   respectfully request that the oral argument scheduled for those motions be cancelled. This

11   stipulation will not moot the remaining oral arguments scheduled for that day (MDL Dkt. Nos. 2973,

12   2997, and 3029).

13            9.     This stipulation and the Court’s order thereon shall have no bearing on the

14   applicability of the aforementioned motions in the cases of Plaintiffs other than the Stipulating

15   Plaintiffs.

16            WHEREFORE, the parties stipulate and agree that the Stipulating Plaintiffs’ Florida

17   Deceptive and Unfair Trade Practices Act claims are dismissed with prejudice. This dismissal does

18   not apply to the claims of Stipulating Plaintiffs brought under federal law (including the Sherman

19   Act and the Clayton Act).
20            WHEREFORE, the parties stipulate and agree that the summary judgment motions brought

21   by Defendants in MDL Dkt. Nos. 2978 and 3031 are withdrawn in their entirety.

22                                                     * * *

23            The undersigned parties jointly and respectfully request that the Court enter this stipulation

24   as an order.

25   PURSUANT TO STIPULATION, IT IS SO ORDERED.

26
27   Dated: January 25, 2016                              ___________________________________
                                                                       Hon. Jon S. Tigar
28                                                                United States District Judge

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 1            Pursuant to Local Rule 5-1(i), the filer attests that the concurrence in the filing of this

 2   document has been obtained from each of the below signatories.

 3

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